                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE



FAYDRA ANN ENGLAND,                                      )
                                                         )
               Plaintiff,                                )
                                                         )
v.                                                       )        No.:   3:06-CV-18
                                                         )               (VARLAN/GUYTON)
SUZUKI MOTOR CORPORATION, and                            )
AMERICAN SUZUKI MOTOR                                    )
CORPORATION,                                             )
                                                         )
               Defendants.                               )


                                MEMORANDUM AND ORDER

               This civil action is before the Court pursuant to 28 U.S.C. § 636(b), the Rules of this

Court, and by Order [Docs. 70, 75] of the Honorable Thomas A. Varlan, United States District

Judge, for disposition of Plaintiff’s Motion for Leave to File Supplemental Witness List [Doc. 65]

and Defendants’ Motion for Continuance in Opposition to Plaintiff’s Motion to Supplement Final

Witness List [Doc. 69.] Plaintiff moves the Court to grant her leave to amend her witness list to add

an additional fact witness. Defendants oppose Plaintiff’s motion, arguing that Plaintiff seeks to add

an expert witness after the deadline has passed, and, in the alternative, requests a continuance of the

trial in this matter should the Court grant Plaintiff’s motion.

               Plaintiff seeks leave of the Court to file a supplemental witness list, adding one

additional fact witness, Charles M. Coones. Plaintiff contends that Mr. Coones will only offer

testimony relating to the facts of his “visual inspection and photography of the 2004 Aerio throttle

mechanism.” [Doc. 71 at 2.] Plaintiff states that Mr. Coones will “not be asked to opine about

anything.” [Id.] Plaintiff also states that the testimony of Mr. Coones did not become admissible or



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relevant until July 11, 2007, when the deposition of defendant’s engineering expert, Mr.

Stopschinski, was taken. Plaintiff contends that the testimony of Mr. Coones will be offered to rebut

Mr. Stopschinski’s assertions that the throttle design of the 2002 Aerio throttle was as reasonably

safe as it could have been. To accomplish this, Mr. Coones would present testimony that the throttle

design was changed in the 2004 Aerio throttle by adding a slot to anchor the throttle return springs.

Plaintiff contends that such testimony would support the testimony of Plaintiff’s expert, Mr. Bartlett,

that the return springs slipped, and would also serve to impeach any testimony that the accident

could not have occurred as Plaintiff states.

               Defendants contend that while Mr. Coones might be able to offer fact testimony

concerning whether the throttle design of the 2004 Aerio differed from that of the 2002 model, that

any argument over whether the throttle design in the 2004 model was safer or was a subsequent

remedial measure would require expert testimony, which, as a fact witness, Mr. Coones could not

provide. Defendants further argue that, in the absence of expert testimony comparing the 2002 and

2004 throttle designs, the jury would be left on their own to examine two differing and complex

throttle designs, causing needless confusion.

               The Court notes that the Scheduling Order in this matter required that the

“[d]isclosure of any expert testimony in accordance with Fed. R. Civ. P. 26(a)(2) shall be made by

all parties on or before one hundred twenty (120) days before trial.” [Doc. 20 at ¶ 4(d).] The Order

also established that “forty-five (45) days before trial, the parties shall file a final witness list

covering the information specified in Rule 26(a)(3). Within five (5) days after service of a final

witness list, such list may be supplemented.” [Doc. 20 at ¶ 6(h).]

               The trial in this matter was originally scheduled for May 1, 2007. [Id.] Accordingly,

expert witness disclosures were due January 1, 2007, final witness lists were due March 17, 2007,

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and supplements to final witness lists were due March 22, 2007. The trial was subsequently

continued to October 2, 2007, but deadlines that had already expired, including the expert witness

disclosure deadline and witness list deadline, were not reset. [Doc. 60.] Plaintiff filed his motion to

supplement witness list on July 18, 2007, and therefore, the motion is untimely.1

               Additionally, the Court finds under Fed. R. Evid. 403 that any fact testimony offered

by Mr. Coones on the differences in throttle design of the 2002 and 2004 models would only confuse

the jury, as the jury would not have the technical knowledge necessary to analyze and understand

the differing designs. Nor could Mr. Coones explain the differences in the designs and what effect

those differences would have on the overall safety of the throttle design if offered solely as a fact

witness, as such explanations would require specialized knowledge and would thus fall outside the

type of opinion testimony allowed a fact witness. Fed. R. Evid. 701.

               Finally, the Court also finds that any evidence of a change in product design in 2004

is irrelevant, because any analysis must be based upon “the state of scientific and technological

knowledge available to the manufacturer or seller at the time the product was placed on the market,”

not at some future point. Tenn. Code Ann. § 29-28-105. Accordingly, for all of these reasons,




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         Plaintiff also argues that Mr. Coones’ proposed testimony only became relevant after
the July 11, 2007, deposition of Defendants’ expert. However, the scheduling order required
that all discovery be completed 90 days before trial. The fact that the parties apparently
agreed not to adhere to the discovery deadline imposed by the District Court does not create
good cause for failure to comply with the District Court’s witness disclosure deadlines.

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Plaintiff’s motion [Doc. 65] is DENIED. In light of the denial of Plaintiff’s motion, Defendant’s

motion in the alternative to continue [Doc. 69] is also DENIED.

       IT IS SO ORDERED.
                                                    ENTER:


                                                         s/ H. Bruce Guyton
                                                    United States Magistrate Judge




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